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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  JOSE MANUEL HENRIQUEZ and JOSE                                      12-CV-6233 (ADS) (GRB)
  HECTOR FUENTES, on behalf of themselves and
  similarly situated employees,

                                     Plaintiffs,
          -against-

  KELCO LANDSCAPING INC., KELCO
  LANDSCAPING CORP., ELM GENERAL
  CONSTRUCTION CORP., KELLY’S CREW,
  JOHN KELLY, JOSEPH PROVENZANO,

                                      Defendants.
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                DECLARATION OF NEIL M. FRANK IN SUPPORT OF MOTION

          Neil M. Frank, an attorney admitted to practice law in the State of New York and the

  United States District Court for the Eastern District of New York, hereby declares upon

  information and belief under the penalties of perjury as follows:

          1.       I am the managing partner of the firm Frank & Associates, P.C., attorneys for the

  Plaintiffs herein. I submit this declaration in support of the Plaintiffs’ motion for preliminary

  approval of the parties’ proposed Class Action Settlement.

          2.       A copy of the Declaration of Brian S. Devery, the Project Manager for the

  Administrator in this case, is attached hereto as Exhibit A.

          3.       A copy of the Proposed Final Order and Judgment Approving Settlement is

  attached hereto as Exhibit B.

          4.       Plaintiffs believe that the proposed Settlement is in the best interests of all

  members of the proposed Settlement Class. The proposed Settlement is the result of extensive


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  negotiations with the assistance of mediator Martin F. Scheinman, Esq. Based on their evaluation

  of the facts and the considerable risk, expense and delay inherent in the continued litigation of

  this matter, Plaintiffs submit that the proposed Settlement is in the best interest of the class as a

  whole and should be granted preliminary approval.

         5.      After conducting a thorough investigation of the facts in this case, which included

  interviewing opt-in plaintiffs and reviewing payroll records, counsel for the parties engaged in

  extensive, complex settlement negotiations to resolve this matter. The parties negotiated at

  arms’ length with Mediator Martin F. Scheinman.

         6.      On March 31, 2015, the Court granted preliminary approval of the Settlement and

  directed that notice be mailed to Class Members, and set August 11, 2015 as the date for the

  Final Fairness Hearing. At the parties’ request, the hearing was adjourned to August 11, 2015.

  The plaintiffs and class members have been notified of the terms of the Settlement and their right

  to opt out or object to the Settlement. With the exception of three requests to be excluded and

  one lone objector, the reaction of the Class to the Settlement has been positive. Accordingly, the

  Court should grant final approval.

                       PROCEDURAL AND FACTUAL BACKGROUND

         7.      This action was brought to recover unpaid overtime wages and prevailing wages

  under the Fair Labor Standards Act, 29 U.S.C. §201 et seq. (“FLSA”), and the New York Labor

  Law, §650 et seq. (“NYLL”). The Plaintiffs Jose Manuel Henriquez and Jose Hector Fuentes

  (“Plaintiffs”), and proposed class members are current and former employees of Defendants who

  worked as landscape laborers. The Complaint alleges that Defendants failed to pay Plaintiffs and




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  class members overtime pay for hours worked in excess of forty hours per week and prevailing

  wages.

           8.     Defendants provide landscaping services for commercial and residential

  customers.     Compl. ¶10. 1   The Plaintiffs and class members worked as laborers for the

  Defendants and performed non-exempt work. The Plaintiffs and opt-in plaintiffs were hourly-

  paid employees. Plaintiffs allege that Defendants failed to pay Plaintiffs and class members

  overtime at time and one half for all hours worked in excess of 40 hours per workweek.

           9.     Plaintiff Henriquez worked as a laborer for Defendants from in or about March

  2009 to in or about April 2012. See, DE 41-2. Henriquez’ primary job duties included general

  landscaping, cutting grass, maintaining flower beds, planting and seeding. Id. at ¶3. Throughout

  the course of his employment with Defendants, Henrqiuez regularly worked in excess of forty

  hours each workweek. Id. at ¶¶4-7. Defendants failed to pay Henriquez premium overtime

  compensation at the rate of one and one-half times his regular hourly rate for all hours he worked

  in excess of forty hours per week. Id. at ¶¶8-11.

           10.    Plaintiff Fuentes worked as a laborer for Defendants from in or about October

  2008 to in or about April 2012. See, DE 41-7 at ¶2. His primary job duties included general

  landscaping, cutting grass, maintaining flower beds, planting and seeding. Id. at ¶3. Throughout

  the course of his employment with Defendants, Fuentes regularly worked in excess of forty

  hours each workweek. Id. at ¶¶4-7.       Defendants failed to pay Fuentes premium overtime

  compensation at the rate of one and one-half times his regular hourly rate for all hours he worked

  in excess of forty hours per week. Id. at ¶¶8-10.
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      Complaint filed December 19, 2012 [DE 1].


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         11.     After conducting a thorough investigation of the facts in this case, which included

  interviewing opt-in plaintiffs and reviewing payroll records, counsel for the parties engaged in

  extensive, complex settlement negotiations to resolve this matter. The parties negotiated at

  arms’ length with Mediator Martin F. Scheinman on September 8, 2014 and December 2, 2014.

         12.     On March 30, 2015, Plaintiffs filed a motion for preliminary approval of the

  parties’ Settlement (Docket Entry No. 76). The parties asked the Court certify for settlement

  purposes only, a Settlement Class comprised of all persons who are or were employed by

  Defendants as landscapers and laborers from December 19, 2006 to February 28, 2015.

         13.     On March 31, 2014, the Court preliminarily approved the Settlement set forth in

  the parties’ Agreement as being fair, just, reasonable, adequate and in the best interests of the

  Named Plaintiff and the Settlement Class as described in the Agreement and set June 26, 2015 as

  the date for the Fairness Hearing.

         14.     On or about April 20, 2015, the Notice of Settlement approved by the Court was

  mailed to the opt-in plaintiffs and class members. Pursuant to the parties’ Settlement Agreement,

  the Notice advised class members of their right to exclude themselves from the Settlement or

  object to the Settlement.

         15.     The proposed Settlement was negotiated at arm’s length by experienced and

  capable counsel after a period of discovery and a thorough evaluation of the claims. Prior to

  entering negotiations, class counsel interviewed plaintiffs regarding the facts and details of their

  employment with Defendants. The parties produced and reviewed documents related to the

  Plaintiffs’ claims including, inter alia, time and payroll records.




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          16.     Continued litigation of this action through trial would be complex, costly and

  long. Since there are more than seventy-four (74) class members including the FLSA opt-in

  Plaintiffs, preparing and putting on evidence in a fact-intensive trial would require tremendous

  amounts of time, exhaust considerable resources and demand substantial judicial resources. The

  proposed Settlement makes monetary relief available to Class Members in a prompt and efficient

  manner.

          17.     The reaction of the Class to the Settlement has been positive. Notice of the

  Settlement was mailed to the Plaintiffs and Class Members explaining the terms of the

  Settlement. The Notice also informed Class Members that they could opt-out or object to the

  Settlement. With the exception of three requests to be excluded and one lone objector, the

  response has been favorable and militates in favor of final approval.

          18.     The parties conducted discovery before entering into negotiations. Class counsel

  obtained informal discovery by interviewing the opt-in plaintiffs regarding the facts and details

  of their employment with Defendants.       During formal discovery, the parties produced and

  reviewed documents reflecting the hours worked and wages paid to the plaintiffs.

          19.     The proposed Settlement provides substantial relief to the Class and avoids the

  risk of trial on the merits.

          20.     For all of the foregoing reasons, Final Approval of the Settlement should be

  granted.

  Dated: Farmingdale, New York
         August 5, 2015
                                                              /s
                                                              _______________
                                                              Neil M. Frank


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